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UNITEI) STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

In re: Case No. 18-75807
BIG APPLE ENERGY, LLC, Chapt€l” 1 1
D€b¥OT- Honorabie Alan S. Trust

 

 

VERIFIED APPLICATION FOR ORDER DIRECTING JOINT ADMINISTRATION
PURSUANT 'I`{) BANKRU’I`PCY RULE 1015( B)

TO THE HONORABLE ALAN S. TRUST
THE UNITED BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK,
CENTRAL iSLIP VICINAGE

The Verifled Appiication of Big Apple Energy, LLC as debtor/Clebtor~in-possession (“Big
Apple”), respectfuliy represents as follows

l. On August 27, 2018, Big Apple and its affiliate Clear Choice Energy, LLC (“Clear
Choice”) (coilectively, the “Debtors”), filed Voluntary Petitions pursuant to the provisions of the
United States Bankruptcy Code.

2. The Debtors have their principal places of business at 100 Crossways Park Drive
West, Suite 405, Woodhury, NY 13797.

3. Both of the Debtors are limited iiability companies owned one hundred percent

(100%) by BAE Energy l\/Ianagernent, LLC. Victor Ferreira in his capacity as manager of BAE

Energy Management, LLC contro£s the day to day financial affairs of both Debtors.

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4. The Debtors are in the business of providing utility service such as gas and
electricity to wholesale customers who in turn provide utility service to end users Further, the
Debtors provide financing for the purchase of utility service to some of its customers and to
independent third-party whoiesale utility service purchasers who buy from others

5. The Debtors’ assets are subject to secured debt due and owing to Macquarie
lnvestments US lnc. (“Macquarie”), and to Penta Mezzanine SBIC Fund I, L.P (“Penta”).

6. The Debtors owe Macquarie approximately Twenty One Miilion Doilars
($21,000,000) as of the commencement of the bankruptcy proceedings The Debtors owe Penta
approximately Four Miilion Doilars ($4,000,000) as of the commencement of the bankruptcy
proceedings

7_ Without having had the benefit of a detailed analysis of the value of the Debtors’
assets compared to the outstanding amounts of their secured ciaims, it is believed Macquarie is
fully secured, and Penta is partially unsecured

8. The Debtors’ bankruptcy filings were commenced on an emergent basis as a result
of a decision made late in the evening on Wednesday, August 22, 20]8 by Macquarie, giving
Debtors’ counsel limited time to prepare the information necessary to commence the Chapter 1 l
cases

9. Pursuant to ll U.S.C. § § 1107 and 1 108, the Debtors are authorized to continue to
operate their businesses and manage their affairs as debtors»in~possessions,

10. No trustee has been appointed herein and no official committee has been appointed
herein

11. Federal Ruie of Bankruptcy Procedure 101 S(b)(ft) authorizes the entry of an order

for joint administration of cases involving a debtor and its affiliate

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12. The Debtors are affiliates within the meaning of the Bankruptcy Code and filed
reiated Chapter il cases in recognition of that reality BAE Energy l\/ianagerneht, LLC is the soie
member of each of the Debtors, and Victor Ferreira as manager of` such sole member is the
individual who controls the financial affairs of the Debtors. As such, the Debtors are affiliated as
that term is defined pursuant to 11 U.S.C. § 101(2).

13. Further, the Debtors are inter-related companies that operationaily share, inter alia,
administrative resources, senior management and have liability to Macquarie and Penta. These
inter-relationships provide a proper predicate for joint administration of the Debtors’ Chapter ll
cases for procedural purposes

14. Additionaily, the Debtors’ respective Chapter ll filings ail emanate out of their
relationships with Macquarie, the acceleration by Macquarie of the Debtors’ pre-petition
indebtedness and the desire of l\/Iacquarie to aiiow further financing only via a debtor-in-
possession facility approved by the court only in connection With the commencement of
bankruptcy cases

15. Entry of the proposed order directing joint administration for procedural purposes
will obviate the need for duplicate notices applications motions and orders throughout the
proceedings thereby saving unnecessary time and expense The Court wiil also be relieved of the
burden of making duplicate orders and keeping duplicate fiies, Further, supervision of the
administrative aspects of the Chapter il cases by the Of`fice of the United States Tlustee will be
streamlined

16. Nevertheiess, for ease of review, each of the Debtors shail file its own separate
monthly operating report, and each of the Debtors wiil pay separate quarterly fees pursuant to 28

U.S.C. § 1930

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17. In light of the foregoing, the Debtors, their creditors and equity interest holders
wouid be best served by joint administration of these cases for procedural purposes

18. Significantly, the substantive rights of the respective creditors of the Debtors will
not be adversely affected by joint administration of the cases for procedural purposes since no
substantive consoiidation will occur. This Verified Application requests only joint administration
for procedural purposes

19. The Debtors propose that the bankruptcy proceeding of Big Appie Energy, LLC
Case No. 18-?580'7, will constitute the lead case

20. Notice of` the within Motion is being provided to the Debtor’s secured creditors, its

20 largest unsecured creditors and the United States Trustee’s Office.

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WHEREFORE, the Debtors seek the entry of an order pursuant to Bankruptcy Ruie

1015(b) directing joint administration of these related cases among affiiiates, together with such

other and further reiief as is just and proper.

Dated: August a 2 ,2018
Livingston, New Jersey

 

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VERIFICATION

Victor Ferreira, of hill age, certifies as follows

i. l am the manager of BAE Energy Management, LLC Which is the soie member of
Big Apple Energy, LLC and Clear Choice Energy, LLC (the “Debtors") and I am authorized to
execute this Vcrification on behai'f of the Debtors. l have full knowledge of the facts set forth
herein, except where such facts are alleged upon information and belief

2. I have read the Verified Appiication and certify that the statements contained
therein are true based upon my personal knowledge, information and 'belief.

3. l am aware that if any of the factual statements contained in the Verified

Appiication are willfully faise, lam subject to punishment
/`

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Dated: August 27, 2013

